                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.1 Filed 03/31/21 Page 1 of 11




                                                                                                        UNITED STATES DISTRICT COURT
                                                                                                        EASTERN DISTRICT OF MICHIGAN
                                                                                                             SOUTHERN DIVISION

                                                                                TERRY HENNING,

                                                                                                Plaintiff,

                                                                                v.

                                                                                RIVIAN AUTOMOTIVE, INC,
                                                                                a Delaware corporation, and
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                RIVIAN AUTOMOTIVE, LLC, a
                                                                                Delaware limited liability company,

                                                                                                Defendants.



                                                                                                                   COMPLAINT

                                                                                        For his Complaint against Defendants Rivian Automotive, LLC

                                                                                (hereinafter “Rivian, LLC”) and Rivian Automotive, Inc. (hereinafter “Rivian,

                                                                                Inc.”), Plaintiff Terry Henning says:

                                                                                        1.      Plaintiff is an individual residing in the City of Plymouth, Wayne

                                                                                County, Michigan.

                                                                                        2.      Upon information and belief, Rivian Inc. is a Delaware corporation

                                                                                with its principal place of business in the State of California.

                                                                                        3.      Upon information and belief, Rivian, LLC is a Delaware limited

                                                                                liability company with its principal place of business in the State of California.




                                                                                11656.101/2815271                            1
                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.2 Filed 03/31/21 Page 2 of 11




                                                                                Upon information and belief, its sole member is Rivian Inc. or an entity owned

                                                                                by Rivian Inc.

                                                                                        4.      This Court has jurisdiction over this case through diversity of

                                                                                citizenship under 28 U.S.C. §1332 because Plaintiff and Defendants are citizens

                                                                                of different states and the amount in controversy exceeds the sum of

                                                                                $75,000.00, exclusive of interest and costs.
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                        5.      Under the terms of the relevant agreements, venue is proper

                                                                                because the parties have agreed that any litigation is to be commenced in state

                                                                                or federal court in Wayne County, Michigan.

                                                                                        6.      Henning is a veteran automotive manufacturing manager, working

                                                                                for Ford Motor Company for over 31 years, ultimately as North American

                                                                                Stamping Engineering Manager. He retired from Ford in January 2019.

                                                                                        7.      Both Rivian Inc. and Rivian LLC are privately held companies

                                                                                actively developing all-electric vehicles for commercial and consumer use.

                                                                                Upon information and belief, Rivian has attracted a substantial capital

                                                                                investment from companies such as Amazon and Ford Motor Company, and has

                                                                                an order from Amazon to produce all-electric commercial vehicles for Amazon

                                                                                in 2020.

                                                                                        8.      In order to move its projects forward, in February 2019,

                                                                                Defendants approached Henning through Mark Vinnels, its Executive Director



                                                                                11656.101/2815271                          2
                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.3 Filed 03/31/21 Page 3 of 11




                                                                                of Supply & Engineering, regarding hiring Henning as a consultant to assist

                                                                                with its manufacturing operations.

                                                                                        9.      Henning was asking for a fee of $3,500 per day.

                                                                                        10.     On or about May 21, 2019, Vinnels emailed Henning an offer letter

                                                                                attached as Exhibit A. Under this proposal, Plaintiff would be responsible for

                                                                                the development of Defendants’ stamping processes and capabilities.
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                        11.     In exchange, Henning would be paid a fee of $1,750 per day plus

                                                                                stock options:

                                                                                        6. Stock Option Program. Reflecting your significant
                                                                                        experience, Rivian will extend a stock option award only
                                                                                        usually offered to permanent employees. Pending approval by
                                                                                        the Board of Directors, you will receive an option to purchase
                                                                                        shares of Rivian common stock. 200 shares in such option
                                                                                        grant will vest at the end of each three-month period during
                                                                                        your contract, provided you work 35 full days during that
                                                                                        period.

                                                                                        12.     Under this proposal, Henning could earn the equivalent of 800

                                                                                options every twelve months.

                                                                                        13.     Due to personal issues, Henning could not commit to that many

                                                                                days. In a telephone call with Vinnels, Henning offered to take $2,000 per day,

                                                                                $1,000 for travel days, and options on 300 shares each quarter.

                                                                                        14.     Vinnels emailed Henning on May 22, 2019 with a revised offer.

                                                                                See email attached as Exhibit B and revised offer letter, attached as Exhibit C.




                                                                                11656.101/2815271                            3
                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.4 Filed 03/31/21 Page 4 of 11




                                                                                That letter provided for $2,000 per day with $1,000 on travel days, plus 300

                                                                                options for the 50-day work period.

                                                                                        15.     Vinners also sent Henning a stock options Valuation Example for

                                                                                Rivian Automotive, Inc., attached as Exhibit D (“Valuation Example”).

                                                                                        16.     This was acceptable to Henning, who emailed Vinnels with the

                                                                                question; “If things go well and I work in excess of 50 days – which I hope to
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                do, what are your thoughts?

                                                                                        17.     Vinnels responded in an email on May 22, 2019 to Henning,

                                                                                attached as Exhibit E, “Then yes we can roll another 50 days with shares.”

                                                                                        18.     So Henning and Defendants agreed that Henning would receive

                                                                                300 options for each 50-day work period.

                                                                                        19.     On this basis, Henning and Rivian LLC executed an Independent

                                                                                Contractor Agreement effective May 28, 2019 (hereinafter “2019 Agreement”),

                                                                                a copy of which is attached hereto as Exhibit F.

                                                                                        20.     Under the 2019 Agreement, Plaintiff was to act as a technical

                                                                                advisor for body stamping and manufacturing, develop stamping processes and

                                                                                capability, insure that die and stamping tooling specifications were

                                                                                comprehensive and appropriate, develop a detailed operating plan for the

                                                                                Company’s press shop and then support the sourcing of the Company’s

                                                                                stamping, tooling and handling troubleshooting.



                                                                                11656.101/2815271                          4
                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.5 Filed 03/31/21 Page 5 of 11




                                                                                        21.     In exchange, Henning would be paid $2,000 per full work day and

                                                                                $1,000 per day for travel. In addition, Section A2(b) of the 2019 Agreement

                                                                                stated that Henning would receive certain stock options in Rivian Inc.:

                                                                                                Subject to the approval of the Board of Directors of Rivian
                                                                                                Automotive, Inc., the Independent Contractor will be
                                                                                                granted an option to purchase 300 shares of common stock
                                                                                                of Rivian Automotive, Inc. Such option will vest on the
                                                                                                scheduled expiration date of the Agreement (provided that
                                                                                                this Agreement is not terminated by the Company or the
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                                Independent Contractor prior to such date). The terms of
                                                                                                such option granted will be set forth in grant documentation
                                                                                                executed by the Independent Contractor and Rivian
                                                                                                Automotive, Inc. and will be subject to the terms of the
                                                                                                applicable Rivian Automotive, Inc. equity consent of plan.

                                                                                        22.     The 2019 Agreement was signed by Plaintiff and Steve Gawronski,

                                                                                Vice President, Supply Chain for Rivian LLC.

                                                                                        23.     The stock options were a material part of the 2019 Agreement.

                                                                                Otherwise, Plaintiff would have negotiated a pay rate of at least $3,500 per day

                                                                                rather than $2,000 per day.

                                                                                        24.     In reliance on the 2019 Agreement, Plaintiff worked two 50-day

                                                                                periods in 2019, thereby earning two 300-share option blocks, for a total of 600

                                                                                options.

                                                                                        25.     At no point in 2019 did Defendants notify Plaintiff that Rivian

                                                                                Inc.’s Board of Directors had not approved the agreed-upon stock options. So




                                                                                11656.101/2815271                            5
                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.6 Filed 03/31/21 Page 6 of 11




                                                                                Henning continued working, believing he was earning not only the per-day pay,

                                                                                but also valuable stock options.

                                                                                        26.     On or about January 30, 2020, Rob Walus, Director of Advanced

                                                                                Manufacturing sent Henning a letter, attached as Exhibit G (2020 Agreement)

                                                                                offering Henning the opportunity to work as a Technical Advisor – Body

                                                                                Stamping and Manufacturing in 2020.
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                        27.     According to the 2020 Agreement, Henning would work

                                                                                throughout 2020 at a rate of $2,000 per day, $1,000 for travel days.

                                                                                Specifically, Henning was to work a period of 48 days between January and

                                                                                May, another period of 48 days between June and September, and a third period

                                                                                of 36 days in October-December.

                                                                                        28.     Henning would also receive stock options per “share offer per MV

                                                                                [Mark Vinnels] letter dated 5-20-18 (File name states 5-21-19-002)”. In other

                                                                                words, Henning would receive the equivalent of 300 options for each work

                                                                                period.

                                                                                        29.     Henning signed Exhibit G in the space marked “Acceptance.”

                                                                                        30.     Defendants did not disclose to Henning that in late 2019, Rivian

                                                                                Inc. common stock had split on a 50-to-1 basis.

                                                                                        31.     So each block of 300 options in 2019 should now be 15,000

                                                                                options in 2020 at a strike price adjusted for the split.



                                                                                11656.101/2815271                            6
                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.7 Filed 03/31/21 Page 7 of 11




                                                                                        32.     Henning’s stock options on 300 shares were to be vested after each

                                                                                50 days worked. In 2019, Henning completed the first 50-day block by

                                                                                September 4, 2019. He completed the second 50-day block by December 16,

                                                                                2019. Accordingly, in 2019, Henning earned two pre-split 300-share stock

                                                                                option blocks from Defendants which were vested in 2019, which, post-split,

                                                                                were now 30,000 stock options
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                        33.     In 2020, Henning worked two of the periods contained in the 2020

                                                                                Agreement and is entitled to two more blocks of stock options, this time 15,000

                                                                                options in each block due to the 50-1 stock split for a total of 30,000 options.

                                                                                        34.     Due to the split, Henning is entitled to 30,000 more options based

                                                                                on the work he did for Defendants in 2019.

                                                                                        35.     Based upon the 2019 Agreement and the 2020 Agreement,

                                                                                adjusting for the stock split, Henning is entitled to 60,000 stock options at strike

                                                                                prices determined under the Rivian Automotive, Inc. equity incentive plan. at

                                                                                the end of each relevant work period.

                                                                                        36.     Henning does not know what the strike prices were on the relevant

                                                                                vesting dates

                                                                                        37.     In July 2020, Henning demanded the stock options he had earned

                                                                                in 2019. His demand was ignored.




                                                                                11656.101/2815271                            7
                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.8 Filed 03/31/21 Page 8 of 11




                                                                                        38.     In 2020, Defendants sent Independent Contractor Agreements to

                                                                                Henning which did not provide for any stock options. Henning refused to sign

                                                                                them.

                                                                                        39.     Henning has also demanded from Defendants the 30,000 stock

                                                                                options he earned in 2020. Defendants have refused to issue the options to

                                                                                Henning.
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                         COUNT I: BREACH OF CONTRACT: Specific Performance

                                                                                        40.     Henning incorporates by reference Paragraphs 1 through 39 as

                                                                                though fully stated herein.

                                                                                        41.     In the 2019 and 2020 Agreements, Defendants agreed to issue

                                                                                Henning 300 stock options, to be adjusted for the stock split, for each of the four

                                                                                work periods he worked in 2019 and 2020, for a total of 1,200 pre-split options.

                                                                                        42.     Adjusting for the stock split, Defendants agreed to give Henning

                                                                                60,000 stock options on Rivian Inc. stock at a split-adjusted strike price

                                                                                determined as of the end of each of the four work periods consistent with the

                                                                                Rivian Inc. equity incentive plan.

                                                                                        43.     Henning has performed all of his obligations under the 2019 and

                                                                                2020 Agreements.

                                                                                        44.     Defendants have breached the 2019 and 2020 Agreements by not

                                                                                issuing Henning the 60,000 stock options to which he is entitled.



                                                                                11656.101/2815271                           8
                                                                                Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.9 Filed 03/31/21 Page 9 of 11




                                                                                        45.     The stock options are unique because their real value is determined

                                                                                when Rivian Inc. goes public. The Valuation Example stated: “The value of a

                                                                                Rivian Stock Option may fluctuate from time to time, and is subject to a number

                                                                                of different factors, many of which the company cannot control or predict.”

                                                                                        46.     The Valuation Example contained an illustration showing how

                                                                                each 100 pre-split block of options could produce as much as $456,816 profit to
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                the holder if Rivian goes public at the same market capitalization as Tesla. That

                                                                                would be $5,481,792 in profit for Henning. To simply award Henning damages

                                                                                equal to the value of the options presently does not fully compensate Henning.

                                                                                        47.     Upon information and belief, Rivian Inc. hopes to be the subject of

                                                                                an initial public offering within the next 12 months.

                                                                                        48.     Specific performance is therefore appropriate.

                                                                                        WHEREFORE Plaintiff Terry Henning prays that this Court order

                                                                                Defendants to issue him 60,000 options on Rivian Automotive, Inc. common

                                                                                stock at the strike prices in existence for the applicable equity incentive plan as

                                                                                each of the 15,000 share option blocks became vested, plus costs and attorneys’

                                                                                fees.

                                                                                                    COUNT I: BREACH OF CONTRACT: Damages

                                                                                        49.     Henning incorporates by reference Paragraphs 1 through 48 as

                                                                                though fully stated herein.



                                                                                11656.101/2815271                            9
                                                                 Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.10 Filed 03/31/21 Page 10 of 11




                                                                                        50.     Defendants’ breaches of the 2019 Agreement and 2020 Agreement

                                                                                have caused Henning to suffer damages.

                                                                                        51.     If the Court declines to order specific performance of Defendants’

                                                                                agreements to issue stock options to Henning, the Court should award Henning

                                                                                damages based on the likely value of these options upon Rivian Inc. becoming a

                                                                                publicly-traded company.
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                        WHEREFORE Plaintiff Terry Henning prays that this Court enter

                                                                                judgment is his favor and against Defendants in an amount in excess of

                                                                                $5,400,000 plus costs, interest and attorneys’ fees.

                                                                                                    COUNT III: PROMISSORY ESTOPPEL

                                                                                        52.     Henning incorporates by reference Paragraphs 1 through 51 as

                                                                                though fully stated herein.

                                                                                        53.     Defendants unambiguously promised to issue 300 pre-split stock

                                                                                options to Henning for each block of work days he worked.

                                                                                        54.     Defendants reasonably expected to induce Henning to sign the

                                                                                agreements with Defendants and perform the engineering services under those

                                                                                agreements to Defendants’ benefit.

                                                                                        55.     Henning reasonably relied on Defendants’ promise to his detriment

                                                                                by reducing his daily fee from $3,500 per day to $2,000 per day, and in




                                                                                11656.101/2815271                           10
                                                                 Case 5:21-cv-10725-JEL-APP ECF No. 1, PageID.11 Filed 03/31/21 Page 11 of 11




                                                                                continuing to perform consulting services for Defendants in 2019 and then in

                                                                                2020.

                                                                                        56.     It would be unjust to not enforce Defendants’ promises to Henning.

                                                                                        57.     Henning has suffered a detriment in the form of not receiving the

                                                                                promised compensation in exchange for the work he performed for Defendants.

                                                                                        WHEREFORE Plaintiff Terry Henning prays that this Court order
K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                Defendants to issue him 60,000 options on Rivian Automotive, Inc. at the strike

                                                                                prices in existence for employee stock options as each of the 15,000 share

                                                                                blocks became vested, plus costs, interest and attorneys’ fees. In the alternative,

                                                                                Plaintiff Terry Henning prays that this Court enter judgment is his favor and

                                                                                against Defendants in an amount in excess of $5,400,000 plus costs, interest and

                                                                                attorneys’ fees.

                                                                                                                         KOTZ SANGSTER WYSOCKI P.C.


                                                                                Dated: March 31, 2021                    /s/Dennis K. Egan
                                                                                                                         By: Dennis K. Egan (P29116)
                                                                                                                         Attorneys for Plaintiff
                                                                                                                         36700 Woodward Avenue, Suite 202
                                                                                                                         Bloomfield Hills, Michigan 48304
                                                                                                                         (248) 646-1050
                                                                                                                         degan@kotzsangster.com




                                                                                11656.101/2815271                           11
